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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                   Bankruptcy Case No.: 19-50848
                                                                                  Chapter 13
                       Debtor(s).

  NOTICE OF REQUEST FOR EXPEDITED RELIEF AND SECOND AMENDED NOTICE OF HEARING AND
                                        MOTION
                          TO AVOID LIENS IMPARING EXEMPTION


TO:           Judgment Creditors Listed Below, U.S. Trustee and other Parties
              in Interest.

      1. The Debtor, above-named, moves the Court for expedited relief and gives notice of

         hearing for the relief requested below.

      2. The Court will hold a Hearing on this Motion at 10:00 a.m. on Thursday, September

         3, 2020, in Courtroom 8 West, Diana E. Murphy United States Courthouse, 300

         South Fourth Street, Minneapolis, Minnesota 55415.

      3. Due to the expedited nature of this motion, Debtor waives any objection to any

         response filed within 2 hours of the hearing. UNLESS A RESPONSE OPPOSING THE

         MOTION IS TIMELY FILED, THE COURT MAY GRANT THE MOTION WITHOUT A

         HEARING.

      4. This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and 1334,

         Federal Rule of Bankruptcy Procedure 5005 and Local Rule 1070-1.                   This

         proceeding is a core proceeding. The Petition commencing this Chapter 13 case

         was filed on October 28, 2019.

      5. This Motion arises under 11 U.S.C. §522. This Motion is filed under Federal Rule of

         Bankruptcy Procedure 9014 and Local Rules 9013-1 through 9019-1(d).                 The

         purpose of this motion is to avoid the fixing of judicial liens against real property of

         the Debtor.
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  6. A judgment was entered and docketed against Debtor in favor of Ess Brothers and

     Sons, Inc. on 09/04/2018, in St. Louis County Minnesota, District Court File Number

     69DU-CV-18-1457 in the original amount of $8,657.86.

  7. A judgment was entered and docketed against Debtor in favor of Teamsters Local

     346 Savings and 401(k) Plan on 10/29/2018, in St. Louis County Minnesota,

     District Court File Number 69DU-CV-18--2917 in the original amount of $51,566.39.

  8. A judgment was entered against Debtor in favor of Teamsters Local 346 Savings

     and 401(k) Plan on 07/30/2018 in United States District Court, District of

     Minnesota Civil File Number 18-CV-01189 in the original amount of $51,566.39.

     This judgment is a duplicate of the preceding judgment.

  9. A judgment was entered on 10/05/2018 and docketed on 01/11/2019 against

     Debtor in favor of David Schrunk and Steven Sauer as Trustees of the Minnesota

     Teamsters Construction Division Health and Welfare Fund, in St. Louis County

     Minnesota, District Court File Number 69DU-CV-19-126 in the original amount of

     $12,309.46.

  10. A judgment was entered on 10/09/2018 against Debtor in favor of David Schrunk

     and Steven Sauer as Trustees of the Minnesota Teamsters Construction Division

     Health and Welfare Fund, in United States District Court, District of Minnesota Civil

     File Number 17-CV-05296 in the original amount of $12,309.46. This judgment is a

     duplicate of the preceding judgment.

  11. A judgment was entered on 12/11/2018 and docketed on 01/11/2019 against

     Debtor in favor of John Nesse and Tim Mackey, as Trustees of the Minnesota

     Laborers Health and Welfare Fund in St. Louis County Minnesota, District Court File

     Number 69DU-CV-19-127 in the original amount of $15,838.85.

  12. A judgment was entered on 12/11/2018 against Debtor in favor of John Nesse and
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     Tim Mackey, as Trustees of the Minnesota Laborers Health and Welfare Fund in

     United States District Court, District of Minnesota Civil File Number 17-CV-03385 in

     the original amount of $15,838.85. This judgment is a duplicate of the preceding

     judgment.

  13. A judgment was entered on 07/09/2018 and docketed on 08/08/2018 against

     Debtor in favor of North East Technical Services in St. Louis County Minnesota,

     District Court File Number 69HI-CV-18-751 in the original amount of $8,305.55.

  14. A judgment was entered on 04/05/2019 and docketed on 04/11/2019 against

     Debtor in favor of Laurentian Aggregate, LLC in St. Louis County Minnesota, District

     Court File Number 69HI-CV-18-807 in the original amount of $62,639.50.

  15. A judgment was entered and docketed against Debtor in favor of Capital One Bank

     (USA) N.A. on 09/25/2019, in St. Louis County Minnesota, District Court File Number

     69HI-CV-19-955 in the original amount of $14,872.28.

  16. A judgment was entered and docketed against Debtor in favor of Retail Capital

     Partners, LLC, dba Credibly on 05/13/2019, in St. Louis County Minnesota, District

     Court File Number 69DU-CV-19-1220 in the original amount of $34,022.56.

  17. A judgment was entered on 06/04/2019 and docketed on 06/05/2019 in favor of

     Glen Johnson and Timothy Gillen Trustees of the Operating Engineers Local #49

     Health and Welfare Fund, et al in United States District Court, District of Minnesota

     Civil File Number 18-CV-421 (LIB) in the original amount of $28,097.90.

  18. The total of the judgments is $236,310.35.

  19. Debtor claimed a $347,100 exemption for his abstract homestead real estate under

     Minnesota Statutes § 510.01 which is described as:

   Lot 2, Block 1, Sellars Beach, Saint Louis County, MN.

  20. The Meeting of Creditors was held on December 17, 2019. No party in interest or
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       creditor has filed an objection to the claimed exemptions and the exemptions are

       allowed.

  21. The judgments are, or appear to be, judicial liens within the meaning of 11 U.S.C. §

       101(36).

  22. The judgments are not for a domestic support obligation as described in 11 U.S.C. §

       523(5), nor are they for labor or materials provided to the real property by any of the

       judgment creditors.

  23. The judgment liens impair an exemption to which the Debtor is entitled pursuant to

       § 522(b) and (f)(1) or (2) of the U.S. Bankruptcy Code.

  24. The Debtor listed a value of $700,000 for the homestead real property on Schedule

       A/B of his bankruptcy schedules.

  25. There is a first mortgage against the property in favor of Cenlar Mortgage Central

       Loan Administration recorded on 11/25/15 as doc #01274612 with a loan balance

       of $243,900.

 26.        There is a tax lien against the property in favor of the IRS recorded on

      3/5/2018 as doc #01328731 with a balance of $56,255.56.

 27. There was a tax lien against the property in favor of Minnesota DEED for

       unemployment taxes recorded on 12/20/2017 as doc #01324475 in the amount

       of $56,435.84.

28.    The mortgage and tax liens are superior in title to the judgment liens.

29.    The total of the balances of the mortgage and tax liens against the property is

       $356,591.40. Subtracting this total from the listed value of $700,000 results in a

       net equity of $343,408.60. The amount of the allowed exemption is $347,100. The

       Minnesota homestead exemption allows an equity value of $420,000.

30.     The Debtor has the right to avoid the judicial liens pursuant to 11 U.S.C.
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        §522(f)(1)(A).

  31.    Debtor requests an order determining that the judgment liens do not attach to the

         exempt real property or to the proceeds thereof.

  32.    In the event testimony is taken, the Debtor will testify at the hearing.

WHEREFORE, the Debtor moves the Court for entry of an Order granting expedited relief and

that the judgment liens described above are avoided and for such other relief as the Court

deems just and equitable.

        Dated this 31st day of August 2020.



                                                    /s/ John F. Hedtke
                                                    John F. Hedtke, #167666
                                                    Attorney for Debtor
                                                    1217 East First Street
                                                    Duluth, Minnesota 55805
                                                    218/728-1993
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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

In Re: Anthony J. Lastovich,                                   Bankruptcy Case No.: 19-50848
                                                                                  Chapter 13
                       Debtor.

      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO AVOID JUDGMENT LIENS

       The Debtor brings this Motion to avoid the fixing of judicial liens against his exempt

abstract homestead real property. The Debtor exempted the homestead real estate under

Minnesota Statutes § 510.01 claiming an exemption of $347,100. The exemption was

allowed. Under Minnesota Statutes §510.01, the homestead exemption available to the

debtor is $420,000.

       It appears from the recording information provided on Schedule D of the Debtor’s

bankruptcy schedules that all of the judgment liens sought to be avoided were docketed

after the recording of the mortgage and the tax liens identified below. That would make

them all subordinate to the mortgage and tax liens because a judgment becomes a lien

against all abstract real estate only from the time of docketing in the county where the real

estate is located under Minnesota Statutes §548.09.

     The Debtor’s homestead real property in St. Louis County, Minnesota had a scheduled

value of $700,000. The property is described as follows:

       Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

    The judicial liens sought to be avoided in this action total $236,310.35. The property

was subject to a first mortgage in favor of Cenlar Mortgage with a balance of $243,900 and

two tax liens totaling $112,691.40.

    Section 522(f)(1) of the Bankruptcy Code allows a debtor to avoid a judicial lien “to the

extent that such lien impairs an exemption to which the debtor would have been entitled.”

11 U.S.C. §522(f)(1)
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   The issue at hand is whether the several judgment liens impair an exemption. The

answer to this question involves the invocation of the formula set out in 11 U.S.C.

§522(f)(2)(A) which provides:

        (2)(A) For the purposes of this subsection, a lien shall be considered to impair an

exemption to the extent that the sum of—


(i) the [judicial] lien;

(ii) all other liens on the property; and

(iii) the amount of the exemption that the debtor could claim if there were no liens on the
property;

exceeds the value that the debtor's interest in the property would have in the absence of
any liens.

        Applying the formula to the homestead property, the amount of the judgment liens

($236,310.35) plus the mortgage and tax liens balance ($356,591.40) plus the

homestead exemption ($420,000) equals $1,012,901.70. This $1,012,901.70 sum

exceeds the scheduled value of the real estate ($700,000).

        A question that is commonly before a court is how much of the judicial lien is to be

avoided? A part or all? This question was answered by the court in In re Kolich, 328 F3rd

406 (8th Cir.2003).

        The answer is that the judicial lien(s) is to be avoided only to the extent that the

lien(s) impairs the exemption. Conversely, the judicial lien may not be avoided to the extent

that the debtor’s equity in the property exceeds the allowed exemption. Id. at FN 2, pg 409.

        In the case at hand, it is clear that the judicial liens are to be avoided in their

entirety because under the §522(f)(2)(A) formula, the sum of the (i), (ii) and (iii) items

($1,013,996.70) exceeds the debtor’s interest in the property ($700,0000) and thus

impairs the exemption.
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    For the reasons advanced above, the Debtor is entitled to the relief requested.

           Dated this 31st day of August 2020.

                                              /s/ John F. Hedtke
                                              John F. Hedtke, #167666
                                              Attorney for Debtor
                                              1217 East First Street
                                              Duluth, Minnesota 55805
                                              (218) 728-1993
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                            UNITED STATES BANKRUPTCYCOURT
                                 DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                 Bankruptcy Case No.: 19-50848
                                                                                Chapter 13
                     Debtor.

      RECEIPT AND ACKNOWLEDGEMENT OF ACCEPTANCE OF SERVICE OF SECOND
      AMENDED MOTION
______________________________________________________________________________

Please take notice that McGrann Shea Carnival Straughn & Lamb, Chartered, as attorney

for Steven Sauer and David Schrunk as Trustees of the Minnesota Teamsters Construction

Division Health and Welfare Fund, the judgment creditor in the St. Louis County, State of

Minnesota, District Court File Number 69DU-CV-19-126 in the original amount of

$12,309.46 acknowledges that the referenced judgment was transcribed into state court

from the judgment with the same parties in United States District Court, District of

Minnesota Civil File Number 17-CV-05296. Creditor, by its authorized attorney, does not

object to the inclusion of the federal judgment in the debtor’s Second Amended Motion for

Expedited Relief and Motion to Avoid Liens and acknowledges receipt of same on behalf of

the above party with like effect as personal service upon the party.

                                              McGrann Shea Carnival Straughn & Lamb,
                                              Chartered

Dated: 8/31/2020                                  By: /s/ Christy E. Lawrie
                                                  Christy E. Lawrie
                                                  800 Nicollet Mall, Suite 2600
                                                  Minneapolis, MN 55402
                                                  612-338-2525
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                            UNITED STATES BANKRUPTCYCOURT
                                 DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                 Bankruptcy Case No.: 19-50848
                                                                                Chapter 13
                     Debtor.

      RECEIPT AND ACKNOWLEDGEMENT OF ACCEPTANCE OF SERVICE OF SECOND
      AMENDED MOTION
______________________________________________________________________________

Please take notice that McGrann Shea Carnival Straughn & Lamb, Chartered, as attorney

for John Nesse and Tim Mackey as Trustees of the Minnesota Laborers Health and Welfare

Fund, the judgment creditor in the St. Louis County, State of Minnesota, District Court File

Number 69DU-CV-19-127 in the original amount of $15,838.85 acknowledges that the

referenced judgment was transcribed into state court from the judgment with the same

parties in United States District Court, District of Minnesota Civil File Number 17-CV-03385.

Creditor, by its authorized attorney, does not object to the inclusion of the federal judgment

in the debtor’s Second Amended Motion for Expedited Relief and Motion to Avoid Liens and

acknowledges receipt of same on behalf of the above party with like effect as personal

service upon the party.

Dated: 8/31/2020                                  By: /s/ Christy E. Lawrie
                                                  Christy E. Lawrie
                                                  800 Nicollet Mall, Suite 2600
                                                  Minneapolis, MN 55402
                                                  612-338-2525
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                            UNITED STATES BANKRUPTCYCOURT
                                 DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                 Bankruptcy Case No.: 19-50848
                                                                                Chapter 13
                     Debtor.

            RECEIPT AND ACKNOWLEDGEMENT OF ACCEPTANCE OF SERVICE OF
            SECOND AMENDED MOTION
______________________________________________________________________________


Please take notice that Andrew, Bransky & Poole, P.A. as attorney for Teamsters Local 346

Savings and 401(k) Plan the judgment creditor in St. Louis County, State of Minnesota,

District Court File Number 69DU-CV-18-2917 in the original amount of $51,566.39

acknowledges that the referenced judgment was transcribed into state court from the

judgment with the same parties in United States District Court, District of Minnesota Civil

File Number 18-CV-01189. Creditor, by its authorized attorney, does not object to the

inclusion of the federal judgment in the debtor’s Second Amended Motion for Expedited

Relief and Motion to Avoid Liens and acknowledges receipt of same on behalf of the above

party with like effect as personal service upon the party.

                                                   Andrew, Bransky & Poole, P.A.


Dated:____8/31/20_________________               By: /s/ Jane C. Poole
                                                  Jane C. Poole
                                                  302 W superior Street
                                                  Suite 300
                                                  Duluth, MN 55802
                                                  218-722-1764
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                             UNITED STATES BANKRUPTCYCOURT
                                  DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                    Bankruptcy Case No.: 19-50848
                                                                                   Chapter 13
                      Debtor.

                       UNSWORN CERTIFICATE OF SERVICE
______________________________________________________________________________

         I, John F. Hedtke, state and depose that on the 31st day of August 2020, I served a
copy of Debtor’s Amended Notice of Request for Expedited Relief and Second Amended
Notice of Hearing and Motion to Avoid Liens, Memorandum of Law and proposed Order by
first class mail postage pre-paid at Duluth, Minnesota, upon the following:

       North East Technical Services
       526 Chestnut Street
       Virginia, MN 55720

        Service was also made upon each judgment creditor by serving its attorney of

record in the state or federal court civil case, if any, by first-class mail, postage pre-paid at

Duluth, Minnesota:

       Ess Brothers and Sons, Inc.
       C/O Gregorson Rosow
       100 S. Washington Ave
       Ste 1550
       Minneapolis, MN 55401


       Laurentian Aggregate, LLC
       C/O Wagner Falconer & Judd, LTD
       100 S 5th Street
       Suite 800
       Minneapolis, MN 55402

       Capital One Bank (USA) N.A
       C/O Gurstel Law Office
       6681 Country Club Drive
       Golden Valley, MN 55427
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      Retail Capital Partners, LLC
      C/O Gurstel Law Office
      6681 Country Club Drive
      Golden Valley, MN 55427

      Glen Johnson et al
      C/O McGrann Shea Anderson
      Christy Lawrie, Esq.
      800 Nicolet Mall
      Suite 2600
      Minneapolis, MN 55402

By written Acknowledgement:

      Teamsters Local 346 Savings and 401(k) Plan

      David Schrunk et al

      John Nesse et al


  Parties requesting Notice by ECF

  Chapter 13 trustee by ECF

  US Trustee by ECF

Dated: August 31, 2020

                                                     /s/ John F. Hedtke
                                                      John F. Hedtke
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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                  Bankruptcy Case No.: 19-50848
                                                                                 Chapter 13
                      Debtor.

                             ORDER AVOIDING LIENS
______________________________________________________________________________

      This case came before the Court on the Debtor’s Request for Expedited Relief and
Motion. Based on the Motion and the file, record and proceeding herein,

       IT IS ORDERED:

       1. The request for expedited relief is granted.

       2. That the judicial liens described below are avoided as to the following real estate
          and any proceeds thereof:

      Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

      a. The apparent lien in favor of Ess Brothers and Sons, Inc. in St. Louis County

         Minnesota, District Court File Number 69DU-CV-18-1457 in the original amount of

         $8,657.86.

      b. The apparent lien in favor of Teamsters Local 346 Savings and 401(k) Plan in St.

         Louis County Minnesota, District Court File Number 69DU-CV-18--2917 in the

         original amount of $51,566.39.

      c. The apparent lien in favor of Teamsters Local 346 Savings and 401(k) Plan in

         United States District Court, District of Minnesota Civil File Number 18-CV-01189 in

         the original amount of $51,566.39

      d. The apparent lien in favor of David Schrunk and Steven Sauer as Trustees of the

         Minnesota Teamsters Construction Division Health and Welfare Fund, in St. Louis

         County Minnesota, District Court File Number 69DU-CV-19-126 in the original

         amount of $12,309.46.

      e. The apparent lien in favor of David Schrunk and Steven Sauer as Trustees of the
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        Minnesota Teamsters Construction Division Health and Welfare Fund, in United

        States District Court, District of Minnesota Civil File Number 17-CV-05296 in the

        original amount of $12,309.46.

   f. The apparent lien in favor of John Nesse and Tim Mackey, as Trustees of the

        Minnesota Laborers Health and Welfare Fund in St. Louis County Minnesota,

        District Court File Number 69DU-CV-19-127 in the original amount of $15,838.85.

   g. The apparent lien in favor of John Nesse and Tim Mackey, as Trustees of the

        Minnesota Laborers Health and Welfare Fund in United States District Court,

        District of Minnesota Civil File Number 17-CV-03385 in the original amount of

        $15,838.85.

   h. The apparent lien in favor of North East Technical Services in St. Louis County

        Minnesota, District Court File Number 69HI-CV-18-751 in the original amount of

        $8,305.55.

   i.   The apparent lien in favor of Laurentian Aggregate, LLC in St. Louis County

        Minnesota, District Court File Number 69HI-CV-18-807 in the original amount of

        $62,639.50.

   j.   The apparent lien in favor of Capital One Bank (USA) N.A. in St. Louis County

        Minnesota, District Court File Number 69HI-CV-19-955 in the original amount of

        $14,872.28.

   k. The apparent lien in favor of Retail Capital Partners, LLC d/b/a Credibly in St. Louis

        County Minnesota, District Court File Number 69DU-CV-19-1220 in the original

        amount of $34,022.56.

  l.    The apparent lien in favor of Glen Johnson and Timothy Gillen Trustees of the

        Operating Engineers Local #49 Health and Welfare Fund, et al in United States

        District Court, District of Minnesota Civil File Number 18-CV-421 (LIB) in the original
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         amount of $28,097.90.




Dated:

                                                  _____________________________
                                                  U.S. Bankruptcy Judge
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                                 HEDTKE LAW OFFICE
1217 EAST FIRST STREET                    John F. Hedtke                               TEL: (218) 728-1993
DULUTH, MINNESOTA 55805                    ATTORNEY AT LAW                             FAX: (218) 728-0038
E-MAIL: JOHN@HEDTKELAW.COM




                                      August 31, 2020



Kyle Carlson                       Affected Creditors &         US Trustee
P.O. Box 519                       Entities Requesting          1015 US Courthouse
Barnesville, MN 56514              Notice                       300 So. 4th Street
                                                                Minneapolis, MN 55415


        Re:   Anthony J. Lastovich
              Bankruptcy Case No. 19-50848

Dear Sir or Madam:

        Attached please find the debtor’s Second Amended Motion to Avoid Liens, Memorandum of

Law and proposed Order.

        This Second Amended Motion affects only three creditors who are already parties to the

motion: John Nesse and Tim Mackey as Trustees of the Minnesota Laborers Health and Welfare Fund,

Steven Sauer and David Schrunk as Trustees of the Minnesota Teamsters Construction Division Health

and Welfare Fund and the Teamsters Local 346 Savings and 401(k) Plan.

        The amended motion adds in paragraphs 8, 10 and 12, three federal court judgments

between these parties and debtor that were later transcribed into St. Louis County District Court. The

two judgments for each creditor are for the same debt.

        This is to acknowledge that /s/ signatures are acceptable and approved by the signer.


                                   Very truly yours,

                                   /s/ John F. Hedtke

                                   John F. Hedtke

Encl.
